                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                                             :
ANDREA THOMAS, DEANDRE TINSON, :
and SHONNIKA SPEARS on behalf                :
of themselves and others similarly situated, :        CASE NO.: 6:19-cv-1528-RBD-GJK
                                             :
                                             :        COLLECTIVE ACTION
                     Plaintiffs,             :
              v.                             :        JURY TRIAL DEMANDED
                                             :
JSTC, LLC,                                   :
COMMERCIAL EXPRESS, INC.,                    :
COEI, LLC,                                   :
AG PLUS EXPRESS, LLC, and                    :
DROP A BOX, INC.                             :
                                             :
                     Defendants.             :

                  FIRST AMENDED COLLECTIVE ACTION COMPLAINT

        Plaintiffs Andrea Thomas (“Thomas”), DeAndre Tinson (“Tinson”), and Shonnika Spears

(“Spears”) (collectively, “Plaintiffs”) through their undersigned counsel, individually, and on behalf

of all persons similarly situated, file this First Amended Collective Action Complaint (“Complaint”)

against Commercial Express, Inc. and COEI, LLC (“COEI”) (together, “Commercial Express”),

JSTC, LLC (“JSTC”), AG Plus Express, LLC (“AG Plus”), and Drop a Box, Inc. (“Drop a Box”)

(collectively, “Defendants”) seeking all available remedies under the Fair Labor Standards Act

(“FLSA”), 29 U.S.C. §§ 201, et seq.

        This amendment is filed pursuant to Fed. R. Civ. P. 15(a)(1), and it relates back to the date

of the original pleading pursuant to Fed. R. Civ. P. 15(c). The following allegations are based on

personal knowledge as to Plaintiffs’ own conduct and are made on information and belief as to the

acts of others.
                                         INTRODUCTION

       1.        Defendants COEI, Commercial Express, Inc. AG Plus, JSTC, and Drop a Box

(collectively, the “DSPs”) are Delivery Service Providers (“DSPs”) of Amazon.com LLC and

Amazon Logistics, Inc. (together, “Amazon”) that employ individuals, such as Plaintiffs and

members of the proposed Collective, to deliver packages to Amazon customers (“Delivery

Associates”).

       2.        This case is about Defendants’ failure to comply with applicable wage laws and to

pay non-exempt Delivery Associates for all the time they worked – including overtime – as was

required to deliver hundreds of Amazon packages each day and meet Amazon’s delivery needs.

                                  JURISDICTION AND VENUE

       3.        Jurisdiction over Plaintiffs’ FLSA claim is proper under 29 U.S.C. § 216(b) and 28

U.S.C. § 1331.

       4.        Venue in this Court is proper pursuant to 28 U.S.C. § 1391. Defendants reside in

and conduct business in this District.

                                             PARTIES

       1.        Plaintiff Andrea Thomas is a citizen of Florida and resides in Jacksonville, Florida.

Plaintiff worked for Defendants Commercial Express and JSTC as a Delivery Associate in Florida

from approximately June 2018 to January 2019. Pursuant to 29 U.S.C. § 216(b), Plaintiff Thomas

has consented to be a plaintiff in this action. See Ex. A.

       2.        Plaintiff DeAndre Tinson is a citizen of Florida and resides in Jacksonville, Florida.

Plaintiff Tinson worked for Defendant Commercial Express as a Delivery Associate in Florida from

approximately September 2018 to March 2019. Pursuant to 29 U.S.C. § 216(b), Plaintiff Tinson

has consented to be a plaintiff in this action. See Ex. B.




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       3.      Plaintiff Shonnika Spears is a citizen of Florida and resides in Jacksonville, Florida.

Plaintiff worked for Defendants Commercial Express and Drop a Box as a Delivery Associate in

Florida from approximately February 2018 through August 2018, and then for Defendants

Commercial Express and JSTC from approximately August 2018 through April 2019. Pursuant to

29 U.S.C. § 216(b), Plaintiff Spears has consented to be a plaintiff in this action. See Ex. C.

       4.      Defendant Commercial Express, Inc. is a corporation with principal offices in Lake

Mary, Florida. Commercial Express, Inc. is the parent company of COEI, with which it has

common owners, agents, and a business address. Commercial Express has entered into agreements

with or otherwise directs a number of Delivery Service Providers, including the DSPs, to service

Delivery Service Provider contracts to which Amazon is a party.

       5.      Defendant COEI is a limited liability company with principal offices in Lake Mary,

Florida. COEI is a subsidiary company of Commercial Express, Inc., with which it has common

owners, agents, and a business address. COEI provides Delivery Associates to Amazon as a

Delivery Service Provider.

       6.      Defendant JSTC is a corporation organized under the laws of Florida with principal

offices in Melbourne, Florida. JSTC provides Delivery Associates to Amazon as a Delivery

Service Provider. On information and belief, Commercial Express contracts with and/or otherwise

directs JSTC to deliver Amazon packages from Amazon Delivery Stations located in Jacksonville,

Florida.

       7.      Defendant AG Plus is a limited liability company with principal offices in

Windermere, Florida. AG Plus provides Delivery Associates to Amazon as a Delivery Service

Provider. Commercial Express entered into a contract with AG Plus, pursuant to which AG Plus

delivers Amazon packages from Amazon Delivery Stations located throughout Florida – in




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Orlando, Davenport, Fort Myers, and Sarasota.

        8.      Defendant Drop A Box is a corporation with principal offices in Saint Cloud,

Florida. Drop a Box provides delivery Associates to Amazon as a Delivery Service Provider. On

information and belief, Commercial Express contracts with and/or otherwise directs Drop A Box

to deliver Amazon packages from Amazon Delivery Stations located in Jacksonville, Florida.

        9.      The unlawful acts alleged in this Complaint were committed by Defendants and/or

Defendants’ officers, agents, employees, or representatives, while actively engaged in the

management of Defendants’ businesses or affairs and with the authorization of the Defendants.

        10.     During times relevant, the Defendants acted as joint employers with respect to the

Delivery Associates who delivered Amazon’s packages.

        11.     During times relevant, Plaintiff Tinson was an employee of Defendants Commercial

Express, Inc and COEI and is covered by the FLSA.

        12.     During times relevant, Plaintiff Thomas was an employee of Defendants

Commercial Express and JSTC and is covered by the FLSA.

        13.     During times relevant, Plaintiff Spears was an employee of Defendants Commercial

Express, Drop A Box, and/or JSTC and is covered by the FLSA.

        14.     Defendants are employers covered by the FLSA.

        15.     Defendants employ individuals, including Delivery Associates, in Florida, as well as

potentially other states.

        16.     Defendants employ individuals engaged in commerce or in the production of goods

for commerce and/or handling, selling, or otherwise working on goods or materials that have been

moved in or produced in commerce by any person, as described by 29 U.S.C. §§ 206-207.

        17.     Defendants’ annual gross sales exceed $500,000.




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                                 COLLECTIVE DEFINITION

       18.     Plaintiffs bring Count I of this lawsuit pursuant to the FLSA, 29 U.S.C. § 216(b), as

a collective action on behalf of themselves and the following class:

       All current and former Delivery Associates who were paid by Defendants
       Commercial Express, COEI, LLC, or any one of its subcontractors, including AG
       Plus Express, LLC, JSTC, LLC, and/or Drop a Box, Inc. to deliver packages for
       Amazon in the United States during the applicable limitations period (the “FLSA
       Collective”).

       19.     Plaintiffs reserve the right to redefine the FLSA Collective prior to notice or

certification, and thereafter, as may be warranted or necessary.

                                              FACTS

                Amazon’s Use of Delivery Service Providers, Such as the DSPs

       1.      Amazon is one of the largest businesses engaged in the interstate shipment of goods

in the United States.

       2.      Amazon holds itself out as a company able to transport goods across the United

States to customers in a short time period.

       3.      Amazon is widely known as a company able to transport goods across the United

States to customers in a short time period.

       4.      Amazon utilizes Delivery Service Providers to transport goods across the country

to customers in a short time period.

       5.      Amazon and Delivery Service Providers are in the business of delivering goods

across the United States.

       6.      Delivery associates are engaged to fulfill Amazon’s nationwide delivery needs and

make deliveries of goods from Amazon delivery stations to Amazon customers.

       7.      The DSPs operate carrier and logistics businesses, in providing trucks and drivers




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to deliver goods on behalf of Amazon.com and its affiliates. The goods are purchased by customers

using Amazon.com, LLC’s digital platform (the Amazon.com website).

        8.      Each of the DSPs provide delivery services for Amazon at one or more of Amazon’s

Delivery Stations through the use of Delivery Associates such as Plaintiff.

        9.      Plaintiff Tinson was hired in September 2018 and worked as a Delivery Associate

for Defendants Commercial Express and COEI until on or about March 2019 in Amazon’s

Jacksonville, Florida location, making deliveries of packages on behalf of Amazon.

        10.     Plaintiff Thomas was hired in June 2018 and worked as a Delivery Associate for

Defendants Commercial Express and JSTC until on or about January 2019 in Amazon’s

Jacksonville, Florida location, making deliveries of packages on behalf of Amazon.

        11.     Plaintiff Spears was hired in approximately February 2018 and worked as a Delivery

Associate for Defendants Commercial Express and Drop a Box until August 2018 in Amazon’s

Jacksonville, Florida location, making deliveries of packages on behalf of Amazon. Plaintiff Spears

subsequently worked as a Delivery Associate for Defendants Commercial Express and JSTC from

approximately August 2018 until approximately April 2019 in Amazon’s Jacksonville, Florida

location, making deliveries of packages on behalf of Amazon.

        12.     The goods that Delivery Associates deliver from Amazon delivery stations to

Amazon customers originate, or are transformed into their final condition, in a different state than

the delivery state.

        13.     The goods Delivery Associates deliver from Amazon delivery stations to Amazon

customers are not transformed or modified during the shipping process.

        14.     Delivery Associates deliver goods to Amazon customers in the same condition as

they were shipped to the Amazon delivery station.




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        15.     Delivery Associates deliver goods to Amazon customers that were shipped around

the United States.

        16.     Plaintiffs and other Delivery Associates are necessary in order for Amazon goods

traveling interstate make it to their final destination.

       The Nature of the Relationship Between the Defendant Delivery Service Providers

        17.     Commercial Express, Inc. is the parent company of COEI. The companies are

owned and operated by the same individuals -- Max Schottmiller, Peter Schottmiller, Patricia A.

Hart – and operate out of the same business address: 335 Lakeview Ave., Lake Mary, Florida 32746.

        18.     Commercial Express has entered into agreements with or otherwise directs a number

of Delivery Service Providers, including the DSPs, to service Delivery Service Provider contracts

to which Amazon is a party.

        19.     Commercial Express directs and controls the work of the Delivery Associates who

are hired by the DSPs in accordance with mandates as to work, conditions, and management that

are set by Amazon.

        20.     Amazon is aware of this practice.

        21.     Commercial Express entered into a contract with AG Plus, pursuant to which AG

Plus delivers Amazon packages from Amazon Delivery Stations located throughout Florida, in

Orlando, Davenport, Fort Myers, and Sarasota. See, First Amended Complaint, Optimal Logistics

LLC et al. v. AG Plus Express, LLC et al., 6:18-cv-02224, ¶ 18 (M.D. Fl. Jan 29, 2019) (Dkt. No.

15).

        22.     On information and belief, Commercial Express also contracts with or otherwise

directs JSTC and Drop A Box to deliver Amazon packages from Amazon Delivery Stations located

in Jacksonville, Florida.




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        23.    Along with Amazon, Commercial Express controls the work activities, policies,

conditions, and management of the Delivery Service Providers with whom they contract, including

the DSPs, and the Delivery Associates that those Delivery Service Providers hire, such as Plaintiffs.

On information and belief, these specifications concerning work activities, policies, conditions, and

management that that Commercial Express imposes are dictated by Amazon.

        24.    For example, in a portion of the contract between Commercial Express and AG Plus,

Commercial Express provided that it would set the distribution points from which AG Plus Delivery

Associates would receive packages, set specified windows in which Delivery Associate must make

these deliveries, establish the Delivery Associates’ uniform according to specifications set out in

the contract, and set other terms and policies with which AG Plus and its Delivery Associates were

required to comply. See, First Amended Complaint, Optimal Logistics LLC et al. v. AG Plus

Express, LLC et al., Exh. A, 6:18-cv-02224 (M.D. Fl. Jan 29, 2019) (Dkt. No. 15).

        25.    On information and belief, Commercial Express maintained the right to directly

enforce these Amazon policies and procedures on the Delivery Associates hired by the DSPs.

        26.    For example, in its contract with AG Plus, Commercial Express provided that it was

entitled to review compliance with its terms and policies through inspection of AG Plus’ business

records, on site visits, “ride-along” observations of the Delivery Associates performing their job

duties, and other inspections of the processes and procedures related to the delivery operations. Id.

And, if any review established noncompliance with the terms and policies, the contract provided

that Commercial Express had the right to demand prompt cure of the non-compliance. Id.

        27.    On information and belief, Commercial Express has entered into agreements with

JSTC and Drop a Box that have substantially similar terms to those set out in its contract with AG

Plus.




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                    The Nature of Plaintiffs and Delivery Associates’ Work

        28.    The nature of the work performed by Delivery Associates is similar and standardized

at each of the Delivery Station(s) where the DSPs provide services for Amazon, as the nature of the

work is centrally controlled and directed by Amazon and Commercial Express.

        29.    Plaintiffs and other Delivery Associates began their shifts once they arrived at an

Amazon facility to pick up their assigned vehicle or when they pick up their vehicle at an offsite

facility.

        30.    Once the vehicle was picked up, Plaintiffs and other Delivery Associates would

drive the vehicles to a separate Amazon Delivery Station. Upon arrival, Plaintiffs and Delivery

Associates would pick up their assigned route, a “Rabbit” handheld scanning device, gas card, and

packages.

        31.    Plaintiffs and other Delivery Associates were regularly scheduled to work five (5)

or more days per week, with shifts that were scheduled for ten (10) hours.

        32.    Although shifts were scheduled for ten (10) hours per day, all of the work-related

activities that Plaintiffs and other Delivery Associates were required to and did perform often took

ten (10) or more hours per day to complete.

        33.    Plaintiffs regularly worked more than forty (40) hours a week. Plaintiffs observed

that other Delivery Associates routinely worked similar hours.

        34.    On average, Plaintiffs delivered between approximately 200-300 Amazon packages

per shift. Plaintiffs observed that other Delivery Associates routinely delivered a similar number

of packages.

        35.    Even after Plaintiffs were finished delivering their assigned packages, Defendants

routinely required them to “rescue” other Delivery Associates by going to meet other Delivery




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Associates in the field to help deliver some of their packages. Plaintiffs were directed to “rescue”

other Delivery Associates and observed other Delivery Associates do the same.

        36.     Upon return to the Amazon Delivery Station, Plaintiffs and other Delivery

Associates had to unload their vehicles and check in with supervisors concerning the day’s route.

        37.     After leaving the Amazon Delivery Station, Plaintiffs and other Delivery Associates

had to park the vehicles at the separate off-site location.

        38.     Plaintiffs observed other Delivery Associates routinely work similar schedules.

Defendants were not only aware of and permitted this practice, but the work schedules and

conditions imposed by Defendants effectively required this practice.

                     Defendants Failed to Pay Delivery Associates Properly

        39.     Plaintiffs and other Delivery Associates regularly worked more than 40 hours per

week.

        40.     Plaintiffs and other Delivery Associates regularly worked five (5) or more days per

week.

        41.     Defendants did not pay Plaintiffs and other Delivery Associates for all hours

worked in excess of forty (40) hours in a workweek and did not pay proper overtime premiums.

        42.     Defendants paid the Delivery Associates a fixed amount of pay per day, and

regularly did not pay overtime premiums for hours worked more than forty in a workweek.

        43.     On atypical occasions when Defendants did pay additional amounts on weeks that

Plaintiffs worked more than forty hours per week, these amounts paid did not meet overtime

requirements.

        44.     Plaintiff Tinson was paid $130 per scheduled ten-hour shift and he was not paid

an overtime premium, despite regularly working more than 40 hours per week.




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       45.     For example, for the pay period between December 9, 2018 and December 15,

2018, Plaintiff Tinson’s paystub reflected 50 hours of work paid at $13 per hour, with no

overtime premiums paid, as follows:




       46.     Plaintiff Thomas was paid $130 per scheduled ten-hour shift and she was not paid

an overtime premium, despite regularly working 50-60 hours or more per week.

       47.     For example, for the pay period between November 12, 2018 and November 18,

2018, Plaintiff Thomas’s paystub reflected sixty hours of work paid at $13 per hour, with no

overtime premiums paid, as follows:




       48.     Plaintiff Spears was paid $130 per scheduled ten-hour shift and she was not paid

an overtime premium, despite regularly working 50 hours or more per week.

       49.     For example, Plaintiff Spears’ paystub reflected that she was paid “Daily” and set

a pay rate at $130 per day, with no overtime premiums paid.

       50.     Some Delivery Associates also received other forms of compensation for services

in addition to the fixed sum of work per day.

       51.     Defendants’ pay policy, in which Plaintiff and other Delivery Associates are not

compensated for all time worked and are not paid an overtime premium for all hours worked in

excess of 40 per workweek, does not comply with the requirements of the Fair Labor Standards

Act.   See Hickman v. TL Transportation LLC, 317 F. Supp. 3d 890 (E.D. Pa. 2018) (granting


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summary judgment to the plaintiff in holding that a similar compensation scheme by another

company that provided delivery services for Amazon violated the FLSA).

                  The Failure to Properly Pay Delivery Associates Is Willful

       52.     Defendants’ actions in violation of the FLSA were or are made willfully in an effort

to avoid liability under the FLSA.

       53.     Despite being able to track Amazon packages to the second, Defendants have failed

to make, keep and preserve records with respect to the Plaintiffs and other Delivery Associates

sufficient to determine their lawful wages, actual hours worked, and other conditions of

employment as required by law. See, e.g., 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1),

516.2(c) (requiring employers to maintain payroll records for three years and time sheets for two

years, including the exact number of hours worked each day and each week).

       54.     Even though the FLSA and applicable state law requires overtime premium

compensation for hours worked over 40 per week, Defendants do not pay Delivery Associates, such

as Plaintiffs, proper overtime premium compensation for overtime hours worked.

       55.     Defendants knew or, absent their own recklessness should have known, that the

Delivery Associates were entitled to such overtime premiums.

       56.     Defendants have failed to pay Plaintiffs and Delivery Associates all overtime

compensation owed.

       57.     By failing to pay the all overtime compensation owed to Plaintiffs and other

Delivery Associates, Defendants have acted willfully and with reckless disregard of clearly

applicable FLSA provisions.

              COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       58.     Plaintiffs bring this lawsuit pursuant to 29 U.S.C. § 216(b) as a collective action on




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behalf of the FLSA Collective defined above.

       59.     Plaintiffs desire to pursue their FLSA claims on behalf of any individuals who opt-

in to this action pursuant to 29 U.S.C. § 216(b).

       60.     Plaintiffs and the FLSA Collective are “similarly situated,” as that term is used in

29 U.S.C. § 216(b), because, inter alia, all such individuals worked pursuant to Defendants’

previously described common pay practices and, as a result of such practices, were not paid for all

hours worked when they worked more than forty (40) hours per week and were not paid the full

and legally mandated overtime premium for hours worked over forty (40) during the workweek.

Resolution of this action requires inquiry into common facts, including, inter alia, Defendants’

common compensation, timekeeping and payroll practices.

       61.     Specifically, Defendants failed to pay overtime at time and a half (1½) the

employee’s regular rate as required by the FLSA for hours worked in excess of forty (40) per

workweek.

       62.     The similarly situated employees are known to Defendants and are readily

identifiable and may be located through Defendants’ business records and the records of any

payroll companies Defendants use.

       63.     Defendants employ many FLSA Collective Members throughout Florida, and

possibly elsewhere. These similarly situated employees may be readily notified of the instant

litigation through direct means, such U.S. mail and/or other appropriate means, and should be

allowed to opt into it pursuant to 29 U.S.C. § 216(b), for the purpose of collectively adjudicating

their similar claims for overtime and other compensation violations, liquidated damages (or,

alternatively, interest), and attorneys’ fees and costs under the FLSA.

                                        COUNT I
                                  Violation of the FLSA



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                      (On Behalf of Plaintiffs and the FLSA Class)

        64.     All previous paragraphs are incorporated as though fully set forth herein.

        65.     The FLSA requires that covered employees be compensated for all hours worked

in excess of forty (40) hours per week at a rate not less than one and one-half (1 ½) times the

regular rate at which he is employed. See 29 U.S.C. § 207(a)(1).

        66.     Defendants are subject to the wage requirements of the FLSA because Defendants

are each an “employer” under 29 U.S.C. § 203(d).

        67.     At all relevant times, Defendants were each an “employer” engaged in interstate

commerce and/or in the production of goods for commerce within the meaning of the FLSA, 29

U.S.C. § 203.

        68.     During all relevant times, Plaintiffs and Collective Members were covered

employees entitled to the above-described FLSA protections. See 29 U.S.C. § 203(e).

        69.     Plaintiffs and Collective Members are not exempt from the requirements of the

FLSA.

        70.     Plaintiffs and Collective Members are entitled to be paid overtime compensation

for all hours worked over forty (40) in a workweek pursuant to 29 U.S.C. § 207(a)(1) and 29 C.F.R.

§ 778.112.

        71.     Defendants’ compensation scheme applicable to Plaintiffs and Collective Members

failed to comply with either 29 U.S.C. § 207(a)(1) or 29 C.F.R. § 778.112.

        72.     Defendants knowingly failed to compensate Plaintiffs and Collective Members for

all hours worked when they worked in excess of forty (40) hours per week and failed to pay proper

overtime premiums at a rate of one and one-half (1 ½) times their regular hourly wage, in violation

of 29 U.S.C. § 207(a)(1) and 29 C.F.R. § 778.112.




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       73.      Defendants also failed to make, keep, and preserve records with respect to Plaintiffs

and Collective Members sufficient to determine their wages, hours, and other conditions of

employment in violation of the FLSA. 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1),

516.2(c).

       74.      In violating the FLSA, Defendants acted willfully and with reckless disregard of

clearly applicable FLSA provisions.

       75.      Pursuant to 29 U.S.C. § 216(b), employers such as Defendant, who intentionally

fail to pay an employee wages in conformance with the FLSA shall be liable to the employee for

unpaid wages, liquidated damages, court costs and attorneys’ fees incurred in recovering the

unpaid wages.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs seek the following relief on behalf of themselves and all others

similarly situated:

                a.     An order permitting this litigation to proceed as an FLSA collective action
                       pursuant to 29 U.S.C. § 216(b);

                b.     Prompt notice, pursuant to 29 U.S.C. § 216(b), of this litigation to all
                       potential FLSA Collective members;

                c.     Back pay damages (including unpaid overtime compensation, unpaid
                       spread of hours payments and unpaid wages) and prejudgment interest to
                       the fullest extent permitted under the law;

                d.     Liquidated damages to the fullest extent permitted under the law;

                e.     Litigation costs, expenses and attorneys’ fees to the fullest extent permitted
                       under the law; and

                f.     Such other and further relief as this Court deems just and proper.

                                         JURY DEMAND

       Plaintiffs demand a trial by jury for all issues of fact.



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Dated: April 14, 2020   Respectfully submitted,

                        /s/ Janet R. Varnell
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                        Attorneys for Plaintiff and the
                        Proposed FLSA Collective




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                                CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on April 14, 2020, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing

to all counsel of record.



                                              /s/ Janet R. Varnell
                                             Janet R. Varnell




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